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                                                                      CLERK
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                       IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF UTAH



  RUSSELL GREER                                  PLAINTIFF’S MOTION FOR
                                              RECONSIDERATION OF A STAY OF
        Plaintiff                               PAYING SANCTIONS PENDING
                                                RESOLUTION OF THIS CASE &
  v.                                            APPEAL TO THE 10TH CIRCUIT

  JOSHUA MOON ET AL,
                                                 Case No.: 2:24-cv-00421-DBB-JCB
        Defendants




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    Plaintiff Russell Greer comes forward now and files this motion for reconsideration.

                                       I.         INTRODUCTION

    On May 15th, District Judge Barlow denied a motion to stay the February $1,000 Rule 37

 sanctions awarded to Defendants. New evidence and actions of Defendants, and their Counsel,

 have occurred that proves what he has been saying: that plaintiff may have appeared as being

 “willful,” when in actuality, he was being careful. To demand money sanctions, over being

 careful, absolutely makes zero sense. In addition, he was truthfully confused on what to even

 write in his initial disclosure and the proper format.

   Plaintiff is also troubled by the fact that this Court is refusing to sanction Defendants for their

 misconduct, making it appear that this Court is acting arbitrarily.

     When Plaintiff has talked to Defendants about paying the money, Defendants will only

 accept a money order or a check. Plaintiff recently lost mail that was significantly valued less

 and so he doesn’t feel comfortable sending that amount of money through the mail.

   Due to the recent actions of Defendants’ counsel, he has caused business and reputation

 damage to Greer. To pay $1,000 over confusion and being careful, especially in light of recent

 conduct by Defendants, is not just at all. Respectfully, reconsideration is sought.

                                            II.    ARGUMENT

   FRCP 60(B)(2) allows an order to be reconsidered based upon new evidence. FRCP(B)(6)

 allows reconsideration based upon “any other reason that justifies relief.” The following reasons

 will show that the May 15th Order should be reconsidered.

    A. DEFENDANTS HAVE BEEN TARGETING GREER’S PERSONAL

        CONNECTIONS, THUS PROVING WHY GREER WAS BEING CAREFUL

   On May 12th, counsel for Defendants, Mr. Matthew Hardin, began contacting people in

 Winnemucca, Nevada because he was upset that Mr. Greer tried postponing a May 6th hearing.

 Greer had tried postponing because of inadvertently scheduling business/city council meeting on

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 the same day. Mr. Matthew Hardin bizarrely contacted nearly every single governmental

 department in Humboldt County and the City of Winnemucca and began requesting any and all

 communications from Russell Greer. Mr. Hardin began telling these entities about a decade old

 restraining order. EXHIBIT A. The communications had a realtor on them, CC’d. Mr. Hardin

 CC’d that realtor on a few emails and began telling Greer that the realtor was now “roped in with

 your frauds.” This communication scared off the realtor and now the government entities in

 Winnemucca have a lesser view of Greer. Mr. Hardin had no basis to do that. It was deliberate

 sabotage and Mr. Hardin was clearly in violation of ABA Rule 8.4 with his misconduct. The

 realtor has reported that Kiwi Farmers apparently want a “piece of my flesh” for even being

 connected to Greer.

     It’s been the same story Greer has been telling this Court for five years. It’s not an imagined

 or perceived thing: the kiwi farmers deliberately go out of their way to harm Greer. They did the

 same thing to Greer’s appellate counsel. They doxxed Andrew Grimm.

    This incident proves why Greer was so extremely careful with disclosing witness contact info

 because the kiwi farmers make it their mission to harm Greer and anybody close to him. This

 incident also proves what Greer was saying: his once proposed witnesses backed out because

 they didn’t want the kiwi farmers to have a piece of their flesh, too. Kiwi Farms breeds school

 shooters, as explained in his complaint. They are very scary people.

    Plaintiff explained all of this in his Rule 72 objections and the conduct of Defendants only

 proves his objections he wrote back in January.

    For plaintiff to be forced to pay money to Defendants, while they continue to sabotage his

 personal affairs, doesn’t sit right with him and is a clear injustice.

   Based on this new evidence of bad conduct of Defendants and their lawyer, Greer sincerely

 asks this Court to reconsider its February ruling and to erase the $1,000 award or to reconsider its

 denial of a stay so that the 10th Circuit can determine whether this new evidence is proof of

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 plaintiff being justified in being careful with disclosing witness information. Again, the 10th

 Circuit has never ruled whether Defendants’ past conduct is a justified reason in not disclosing

 information.

    B. ARBITRARY SANCTIONS

   Greer is troubled by the fact that this Court is only sanctioning one side. Judge Barlow has not

 addressed this and is a question of law that the Court is ignoring.

   Clearly, Defendants’ attorney has plagued this case with ABA 8.4 misconduct and FRCP Rule

 11 violations with filings that have filled with this docket with delay and engaging in frivolous

 “investigations”. It’s gotten to the point where Defendants’ lawyer will send Greer a threat of

 sanctions on a weekly basis for simply not liking a word in a document. EXHIBIT B. None of

 those filings of Defendants have anything to do with copyright.

   The biggest kicker is that Greer has been sanctioned for this initial disclosure fiasco, yet the

 magistrate judge denied a sanctions motion for Defendants publishing the initial disclosure

 information that Greer failed to mark “attorney’s eyes only.” Common sense should have

 dictated that it was confidential. Defendants’ counsel took advantage of a pro se litigant’s

 confusion.

   A district court abuses its discretion when it renders "an arbitrary, capricious, whimsical, or

 manifestly unreasonable judgement." FDIC v. Oldenburg, 34 F.3d 1529, 1555 (10th Cir.1994).

 Based on 10th Circuit law, the initial disclosure sanctions is arbitrary because only one party is

 being sanctioned for Rule 37 misconduct, when clearly, Defendants violated the protective order,

 which is also a Rule 37 violation. Their violation caused users on Kiwi Farms to taunt Greer with

 the information. That is more damaging than any harm Defendants claimed. One of the once

 proposed witnesses has Parkinson’s disease and it absolutely frightens plaintiff that the deranged

 users will hurt his family. That is harm suffered — yet this Court is doing nothing to stop the

 conduct of Defendants’ lawyer. Not even a written reprimand.

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    Based on these arbitrary sanctions, plaintiff requests either the Court reverse the sanctions

 award or issue a stay until the case can be appealed for the 10th Circuit to hear this matter or for

 the Court to allow an interlocutory appeal.

     C. Method of Sending Money to Defendants is a Hardship

     When plaintiff reached out to Defendants in February to see how they wanted the money,

 Mr. Hardin said he would accept a check. Plaintiff doesn’t have personal checks. He would have

 to do a cashier’s check, e.g. money being taken out of his account. Sending this amount could

 easily be lost in the mail or Defendants could claim they never received it and then he would be

 out $774. Plaintiff was open to sending an electronic transfer, but Defendants do not consent to

 that. Further, since Defendants continue to seek monies through the most frivolous reasons,

 plaintiff never sent a check and will respectfully fight and appeal every award granted to

 Defendants. Defendants don’t get to continue to act bad, but demand handouts over mistakes

 from plaintiff.

                                           CONCLUSION

     Plaintiff would sincerely ask for reconsideration of the motion to stay, as the 10th Circuit

 should decide whether these new actions of Defendants backs up plaintiff’s sincere apprehension

 of disclosing information, which may have came across as plaintiff being willful.

 Respectfully submitted,

 Russell Greer

 /rgreer/

 6-8-25




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                                 CERTIFICATE OF SERVICE:
 Pursuant to FRCP 5(b), I certify that on 6-9-25, I served a true and correct copy of the attached
 document by ECF to all attorneys on record.




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                                  EXHIBIT A




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                                 EXHIBIT B




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